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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


VICTORIA CHARITY WHITE,
                                   Plaintiff,

               v.                                                  C.A. No. 22-cv-00027 (TSC)

ROBERT J. CONTEE III, et al.,

                                Defendants.



 PLAINTIFF’S MOTION PURSUANT TO FED. R. CIV. P. 41(a)(2) TO DISMISS HER
                  COMPLAINT WITHOUT PREJUDICE

        Plaintiff, through her undersigned counsel, respectfully moves this Court to dismiss her

complaint without prejudice pursuant to Fed. R. Civ. P. 41(a)(2). Defendants Chief Contee and

the District of Columbia, through their counsel, refused Plaintiff’s counsel’s request to stipulate

to such voluntary dismissal without court order under Fed. R. Civ. P. 41(a)(1)(A)(ii) unless it

was with prejudice. Therefore, Plaintiff has found it necessary to file the instant motion

requesting a court order dismissing her Complaint without prejudice under Rule 41(a)(2). In

support of this request, Plaintiff states as follows:

                                          BACKGROUND

    1. Plaintiff filed the instant action on January 5, 2022, against Defendants Robert J. Contee

        III, (“Chief Contee”) seven John Doe D.C. Police Officers, and the District of Columbia

        (“District”) for injuries she sustained by being brutally and continuously beaten over the

        head with a metal police baton and punched in the face by Officer John Doe 1 and

        assaulted by other officers on January 6, 2021, in the West Tunnel entrance of the Capitol

        Building, where, unarmed, she was surrounded by some 30-40 officers packed in the



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   tunnel and not allowed to exit. (See ECF No. 1, pp.6-9). Her beating was captured on

   video as well as her exhortation to protestors just outside the tunnel not to break the

   windows to the Capitol Building or breach the building.

2. Plaintiff alleged twelve causes of action for violating her constitutional rights under

   Section 1983 and asserting common law claims. See Compl. pp. 10-19.

3. On April 29, 2022, this Court issued a Minute Order to Show Cause by May 6, 2022 “why

   this action should not be dismissed for failure to prosecute” under Fed. R. Civ. P. 4(m)for

   failure to effectuate service on the defendants.

4. Fed. R. Civ. P. 4(m) provides in pertinent part that “[i]f a defendant is not served within 90

   days after the complaint is filed, the court—on motion or on its own after notice to the

   plaintiff—must dismiss the action without prejudice against that defendant or order that

   service is made within a specified time. But if the plaintiff shows good cause for the failure,

   the court must extend the time for service for an appropriate period.” (Emphasis added).

5. Subsequently, Plaintiff was able to serve Defendants Chief Contee (now disputed) and the

   District of Columbia, but have not been able to serve the John Doe defendants due to

   difficulty identifying them.

6. Plaintiff consented to a request by Defendants Chief Contee and District of Columbia for

   a one-week extension of time to file their response to Plaintiff’s Complaint until July 6,

   2022.

7. On July 6, the Defendants filed a Motion to Dismiss and a Partial Motion for Summary

   Judgment. (ECF No. 14). In sum, they argue that Chief Contee was not properly served,

   that the allegations are not sufficient to make out a claim against the District of Columbia

   to override sovereign immunity, that alternatively, partial summary judgment is



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   warranted since timely notice was not given to the District of Plaintiff’s claim within 6

   months of her injuries, and concluded that “all federal, and common law claims against

   Chief Conte [sic] should be Dismissed, the federal claims against the District should be

   dismissed, and the District should be granted summary judgment as to Plaintiff’s

   common law claims.” Def. Mem. at 12.

                                         ARGUMENT


   8.       Plaintiff is currently preparing for her criminal trial in the related case, USA v.

White, No. 1:21-cr-00563-JDB-1, where she is charged, inter alia, for unlawfully entering

the Capitol Grounds. Plaintiff does not have the time or resources to spend on her civil case

until her criminal trial is resolved, and expressed those concerns to the Defendants in seeking

a stipulation for dismissal without prejudice.

   9.       Defendants counsel refused to so stipulate and insisted that any stipulation for

dismissal be with prejudice, even though they were unable to identify any prejudice to

Defendants if the complaint were dismissed without prejudice.

   10.      Depending on the outcome of her criminal proceeding, Plaintiff may decide not

to refile her complaint, or, if she does, to amend it to cure the pleading deficiencies alleged

by the Defendants.

   11.      Fed. R. Civ. P. 41(a)(1) allows a plaintiff to dismiss her complaint without

prejudice voluntarily without Court order by simple notice if no Answer has been filed by the

Defendants, or, by stipulation of the parties if a motion of summary judgment has been filed.

Defendants have not filed an Answer but instead filed a Motion to Dismiss under Fed. R.

Civ. P. 12(b)(5) (failure to serve a party) and 12(b)(6) (failure to state a claim).




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   12.      While Plaintiff would have been entitled to dismiss her Complaint without

prejudice by simple notice, the Defendant’s alternative Motion for Partial Summary

Judgment requires that the parties stipulate to such dismissal under Rule 41(a)(1)(A)(ii). As

noted, the Defendants refused to stipulate to such dismissal without prejudice, thereby

requiring Plaintiff to invoke Fed. R. Civ. P. 41(a)(2) providing for a voluntary dismissal by

Court order.

   13.      Rule 41(a)(2) provides in relevant part:


         If a defendant has pleaded a counterclaim before being served with the plaintiff's
         motion to dismiss, the action may be dismissed over the defendant's objection only if
         the counterclaim can remain pending for independent adjudication. Unless the order
         states otherwise, a dismissal under this paragraph (2) is without prejudice.

14. Defendants have not pleaded a counterclaim.

15. In their Motion to Dismiss, Defendants cite “Bell v. District of Columbia, 82 F. Supp. 3d

   151 (D.D.C. 2015) (passim) (Section 1983 claims against District dismissed where

   plaintiff fails to allege in complaint sufficient facts to support municipal liability).” Def.

   Mem. at 11. Yet, in that case, the Court granted the District’s motion and dismissed the

   relevant count “without prejudice.” Id. at 159 (emphasis added).

16. Plaintiff submits that an Order dismissing her complaint against all Defendants without

   prejudice, including those not yet served, is in the interests of justice, will conserve

   scarce judicial resources and those of the parties, and will not prejudice the District or

   Chief Contee. If any refiled case does not cure the deficiencies alleged in their Motion to

   Dismiss, the Defendants can simply refile their motion.

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      WHEREFORE, for the foregoing reasons, and the record herein, Plaintiff respectfully

  requests that this Court issue an order dismissing her complaint against all Defendants

  without prejudice.

                                              Respectfully submitted,

                                              /s/ Paul D. Kamenar
                                              Paul D. Kamenar, D.C. Bar #914200
                                              1629 K Street, N.W.; Suite 300
                                              Washington, DC 20006
                                              (301) 257-9435
                                              Paul.kamenar@gmail.com

                                              Attorney for Plaintiff


                                CERTIFICATE OF SERVICE

       I hereby certify that on July 17, 2022, I caused the foregoing document and Proposed

Order to be filed via the CM/ECF system for the U.S. District Court for the District of Columbia,

which I understand caused a copy to be served on all registered parties.

                                              Respectfully submitted,
                                              /s/ Paul D. Kamenar




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